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                                THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION

                                           DATE: 2/27/2020

DISTRICT JUDGE                                       COURT REPORTER: Lori Barnett

Amos L. Mazzant, III                                 COURTROOM DEPUTY: Donna Jones
  Dareltech, LLC v.Samsung Electronics Co.,         4:18cv702
  Ltd. et al.



  ATTORNEYS FOR PLAINTIFFS                                ATTORNEYS FOR DEFENDANTS
  David Hecht                                             Jin Park, Atanas Baitchev, Roger Sanders, Michael
                                                          Young



On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

 TIME:       MINUTES: MARKMAN HEARING
 9:02 am     Court in session, appearances noted.

 9:05 am     Court hears argument from counsel regarding claim construction.

 9:16 am     Court introduces technical advisor, Mr. Scott Woloson. Counsel resume claim construction
             arguments.
 9:40 am     Court recess for 5 minutes.

 9:48 am     Court reconvenes. Parties continue claim construction arguments.

 10:21 am    Mr. Park addresses court regarding some housekeeping matters.

 10:23 am    Court will issue decision within thirty (30) days. Court adjourned.


                                                    DAVID O'TOOLE, CLERK

                                                    BY:       Donna Jones
                                                            Courtroom Deputy Clerk
